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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
VS.                                                 )           CASE NO.: 3:10-CR-143-M (05)
                                                    )
DEBRA SUTTON                                        )

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY


       After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the consent of the defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge is of the opinion that the Report and Recommendation of the Magistrate Judge Concerning

Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts

the plea of guilty, and also accepts the plea agreement, and the Defendant is hereby adjudged

guilty. Sentence will be imposed in accordance with the Court’ s scheduling order.

       SIGNED this 13th day of October, 2010.




                                             _________________________________
                                             BARBARA M. G. LYNN
                                             UNITED STATES DISTRICT JUDGE
                                             NORTHERN DISTRICT OF TEXAS
